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                           UN ITED STATES DISTRICT CO URT FO R THE
                                SO U TH ERN DISTRICT O F FLO RID A
                                       Ft.Lauderdale Division

                       C ase N um ber: IO-6OS9O-C IV -M A R TIN EZ-M CA LIL EY


   UN ITED STA TES O F A M ERICA ,ex rel.,
   M ICHA EL REILLY ,M .D .,

          Plaintiff,



   N O RTH BRO W A RD H O SPITA L D ISTRICT
   d/b/a BROW ARD HEALTH,BROW ARD
   GEN ER AL M ED ICA L CEN TER ,and JOHN
   D O ES 1-100,

          Defendants.


                                          SEA LED O R DER

          THISM ATTER isbeforetheCoul'tuponaStipulationofDismissal(ECFNo.721.This
   Courthaving been inform ed ofa settlem ententered into am ong the Relator,the D efendants,and

   the U nited States,and the parties having filed a Stipulation ofD ism issal,itishereby:

          ORDERED AND ADJUDGED thatthisactionisdismissed:(a)withprejudicetothe
   Relatorfora11claims;(b)withprejudicetotheUnitedStatesfortheclaimsreleasedbythe
   United Statesintheparties'SettlementAgreement'
                                                ,and(c)withoutprejudicetotheUnitedStates
   foranyclaim in thisaction thatarenotspecifically released by the United Statesin theparties'

   Settlem entA greem ent. Itis further

          ORDERED thatthe sealshallbeLIFTED imm ediately on thecomplaintsfiled bythe
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   Relatorin this action,the Stipulation ofD ism issaland on a1lpleadings filed in the future,butall

   otherpleadings in thiscase shallrem ain underseal.

           DONEAND ORDERED inChambersatMiami,Florida,this /D dayofSeptember,
   2015.


                                                                   %


                                                        JO SE .M AR TINEZ
                                                        17N1 D STA TES DISTRIC JUD GE

   Copiesprovided to:
   M agistrateJudgeM cAliley
   A l1CounselofRecord
